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 7               IN THE UNITED STATES DISTRICT COURT FOR THE
 8                       EASTERN DISTRICT OF CALIFORNIA
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10   ROGER McINTOSH,                           )   1:07-cv-01080 LJO GSA
                                               )
11                 Plaintiff,                  )   ORDER REGARDING
                                               )   STIPULATION TO FILE A
12   vs.                                       )   FIRST AMENDED
                                               )   COMPLAINT
13                                             )
     NORTHERN CALIFORNIA                       )   (Document 26)
14   UNIVERSAL ENTERPRISES                     )
     COMPANY, et al.,                          )
15                                             )
                 Defendants.
16   ______________________________________
17
18         Pursuant to the stipulation of the parties filed on June 2, 2008, Plaintiff
19   may file his proposed amended complaint. Plaintiff is directed to file the First
20   Amended Complaint on or before June 30, 2008. Defendants’ response or
21   objection to the amended complaint shall be filed within 10 days after service
22   of the amended complaint.
23     IT IS SO ORDERED.
24      Dated:     June 6, 2008                  /s/ Gary S. Austin
     6i0kij                                 UNITED STATES MAGISTRATE JUDGE
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